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                                                                                    2012 Oct-29 PM 02:48
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                          NORTHWESTERN DIVISION

ZACHARY SKINNER                            )
                                           )
        Plaintiff                          )
                                           )
vs.                                        )   Civil Action No. CV-11-S-861-NW
                                           )
TENNESSEE VALLEY                           )
AUTHORITY, et al.,                         )
                                           )
        Defendants.                        )

                              ORDER OF DISMISSAL

        The parties having notified the court that all claims embraced herein have been

resolved by settlement, it is ORDERED that all claims be DISMISSED with prejudice,

but upon this condition: if plaintiff does not receive the full proceeds of settlement

within a reasonable period of time, not to exceed 45 days from this date, it may

petition the court to reinstate this action, and such reinstatement shall relate back to

the original date of filing. The clerk is directed to close this file. Costs are taxed as

paid.

        DONE this 29th day of October, 2012.



                                               ______________________________
                                               United States District Judge
